9:22-cr-00658-RMG
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

United States of America,                     )
                                              )
               vs.                            )                Criminal No.2: 13-330
                                              )
Wendy Annette Moore, Christopher              )
Austin Latham, Aaron Russell Wilkinson,       )
Rachel Palmer,                                )                ORDER
                                              )
                       Defendants.            )                UNDER SEAL


       Following discussions between the Court and counsel at various pre-trial proceedings

about the possible impact of pre-trial publicity on the potential jury venire, the Court entered an

order dated October 29,2013, requiring any parties seeking a change in the venue for the

selection of the jury panel on the basis of pre-trial publicity to file a motion on or before October

8,2013. (Dkt. No. 264). No defendant filed a motion to change the venue for the selection of

the jury panel but the Government did file such a motion. (Dkt. No. 271).

       It is well settled that a change in venue for the selection of a jury in a criminal case is

warranted only where the prejudice against the defendant is so great that the defendant cannot

obtain a fair and impartial trial. Fed. R. Crim. P. 21(a). Such a finding should be made "[o]nly

in extreme circumstances" and the far more preferable course is for the trial court to conduct voir

dire and determine if actual prejudice exists. United States v. Higgs, 353 FJd 281,307-08 (4th

Cir. 2003), United States v. Bakker, 925 F.2d 728, 733 (4th Cir. 1991). To the extent that "Voir

dire reveals that an impartial jury cannot be impanelled," the trial court should then grant the

motion to change venue. Id. at 732.



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       Based upon the information currently available to the Court and the notable lack of

interest of the Defendants in changing the venue at this time, the Court finds that the extreme

circumstances necessary to justify a presumption of a tainted jury panel do not exist. All parties

support appropriate voir dire to determine whether any potential jurors are unable to "lay aside

[any] impression or opinion and render a verdict based on the evidence presented in court." Irvin

v. Dowd, 366 U. S. 717, 723 (1961). To that end, the Court intends to make a general inquiry to

the jury venire whether any prospective jurors have heard about or are aware of the allegations

against the Defendants and then to conduct individual voir dire for all prospective jurors who

may have knowledge about the pending charges. Total ignorance of the matter is not a

prerequisite for jury service but it is important for the Court to make sufficient inquiry to confirm

that any individuals selected for jury service can perform their duties in a fair and impartial

manner and render a verdict based upon the evidence presented at trial. The Court will conduct

both the general and individual voir dire and will consider asking the prospective jurors

questions proposed by counsel consistent with the requirements of Fed. R. Crim. P. 24(a)(2).

       Based upon the foregoing, the Government's motion (Dkt. No. 271) is DENIED.

       AND IT IS SO ORDERED.




                                                       United States District Judge


November~, 2013
Charleston, South Carolina




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